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                           UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII

   HB Productions, Inc.,                    )   Case No.: 1:19-cv-389-ACK-KJM
                                            )   (Copyright)
                     Plaintiffs,            )
       vs.                                  )   SUPPLEMENTAL
                                            )   MEMORANDUM OF POINTS
   JOHN DOE et. al.,                        )   AND AUTHORITIES IN
                                            )   SUPPORT OF PLAINTIFF’S
                     Defendants.            )   MOTION FOR LEAVE TO FILE
                                            )   FIRST AMENDED COMPLAINT;
                                            )   EXHIBIT 1
                                            )

  SUPPLEMENTAL MEMORANDUM OF POINTS AND AUTHORITIES IN
    SUPPORT OF PLAINTIFF’S MOTION FOR LEAVE TO FILE FIRST
                    AMENDED COMPLAINT


  I.     BACKGROUND

         Plaintiff HB Productions, Inc. (“Plaintiff”) filed a Motion for Leave to File a

  First Amended Complaint [Doc. #29] on Nov. 21, 2019. Previously, on Nov. 20,

  2019, the Court declined to review a proposed stipulated consent judgment between
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  Plaintiff and Senthil Segaran and Techmodo Limited. [Doc. # 28]. On December 4,

  2019, the Court directed Plaintiff to file supplemental briefing addressing why

  granting Plaintiff leave to file an amended complaint against proposed defendants

  Techmodo Limited and Senthil Vijay Segaran is not futile for lack of personal

  jurisdiction.

  II.    ARGUMENT

         Personal jurisdiction can be waived by Defendants per Rule 12(b). See

  S.E.C. v. Blazon Corp., 609 F.2d 960, 965 (9th Cir. 1979) (“A defendant cannot

  waive his right to assert a lack of subject matter jurisdiction, but he can confer

  jurisdiction over his person upon a court otherwise lacking that jurisdiction by

  expressly consenting to it.”).

         Plaintiff and Techmodo Limited and Senthil Vijay Segaran entered into a

  proposed consent judgment in which Techmodo Limited and Senthil Vijay Segaran

  agree to the personal jurisdiction of this Court. See Exhibit “1”. Indeed, if the

  proposed First Amended Complaint is entered, Plaintiffs will once again submit this

  proposed consent judgment for consideration which will terminate this case with

  respect to Techmodo Limited and Senthil Vijay Segaran if entered. Accordingly,

  the proposed First Amended Complaint is not futile.

  III.   CONCLUSION
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        Personal jurisdiction is appropriate and the proposed first amended

  complaint is not futile because Techmodo Limited and Senthil Vijay Segaran have

  expressly agreed to personal jurisdiction of this Court.



        DATED: Kailua-Kona, Hawaii, December 4, 2019.


                                   CULPEPPER IP, LLLC


                                   /s/ Kerry S. Culpepper
                                   Kerry S. Culpepper

                                   Attorney for Plaintiff
